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1    JEFFREY B. SETNESS, ESQ
     California Bar No. 96773
2
     JEFFREY C. BRAMBLE, ESQ
3    Utah Bar No. 15548
     (Pro Hac Vice Application Pending)
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     Telephone: 702-286-2626
8
9
                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11
     THANE CHARMAN, individual,                     Case No.: 23-cv-0959-BAS-KSC
12                                Plaintiff,
                                                  DEFENDANT RYAN HOGGAN’S
13   v.                                         NOTICE OF MOTION AND MOTION
14                                              TO DISMISS AMENDED COMPLAINT
     DESERT LAKE GROUP, LLC, d/b/a
15   FIRST CLASS HERB TINCTURE,
                                                 (Memorandum of Points and Authorities,
     d/b/a FIRST CLASS HERBALIST
16                                             Declaration of Ryan Hoggan, and [Proposed]
     CBD, d/b/a FIRST CLASS
                                                    Order filed concurrently herewith)
17   HERBALIST OILS, d/b/a USA
     HERBALIST OILS, BENSON
18                                             Hearing Date:   February 26, 2024
     CHRISTOPHER HUNTER, an
19   individual, CHRIS TIRRELL
                                                   NO ORAL ARGUMENT UNLESS
     ARMSTRONG, an individual, DARIN
20                                                    ORDERED BY THE COURT
     EDWARD TOONE, an individual,
                                               Place:      James M. Carter and Judith
21   JARED C FORBUSH, an individual,
                                                           N. Keep U.S. Courthouse
     JONATHAN KENT VIRGIN, an
22                                                         333 West Broadway
     individual, NICHOLAS ANTHONY
                                                           Courtroom 12B, 12th Floor
23   ARMSTONG, an individual,
                                                           San Diego, CA 92101
     NICHOLAS LANE JESSEN, an
24                                             Judge:      Hon Cynthia A. Bashant
     individual RYAN DEAN HOGGAN,
25   an individual,
                                               Complaint Filed: May 25, 2023
26                              Defendant.     Trial Date:      Not Set
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          MOTION TO DISMISS AMENDED COMPLAINT                  Case No. 23-cv-0959-BAS-KSC
     Case 3:23-cv-00959-BAS-KSC Document 16 Filed 01/12/24 PageID.72 Page 2 of 2



1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE THAT on February 26, 2024, or as soon thereafter as may
3    be heard in Courtroom 12B on the 12th Floor of the James M. Carter and Judith N. Keep
4    United States District Court, Southern District of California, located at 333 West
5    Broadway, San Diego, 92101, Defendant Ryan Hoggan will and hereby does move the
6    Court for dismissal of the Amended Complaint (Dkt. No. 6) by Plaintiff Thane Charman
7    (Plaintiff) pursuant to Federal Rule of Civil Procedure Rules 4, 12(b)(2) and 12(b)(5) for
8    failure to properly serve the Amended Complaint upon Defendant Ryan Hoggan and for
9    lack of personal jurisdiction.
10         This Motion is based on this Notice of Motion and Motion, the Memorandum of
11   Points and Authorities, the Declaration of Ryan Hoggan, the papers on file with this Court,
12   and upon such argument and/or documentary matters as may be presented to this Court at
13   or before the hearing on this Motion.
14         DATED:        January 12, 2024
15                                           FABIAN VANCOTT
16
                                             /s/ Jeffrey B. Setness
17
                                             JEFFREY B. SETNESS
18                                           Attorneys for Defendant Ryan Hoggan
19
20
                                             /s/ Jeffrey C. Bramble
21                                           JEFFREY C. BRAMBLE
                                             (Pro Hac Vice Application Pending)
22
23                                           Attorneys for Defendant Ryan Hoggan
24
25
26
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           MOTION TO DISMISS AMENDED COMPLAINT                    Case No. 23-cv-0959-BAS-KSC
